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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------------X
JUAN GONZALEZ,                                                               Index No.: 1:17-cv-00930

                                   Plaintiff,
                                                                                 COMPLAINT
         -against-

PRO QUEST SECURITY INC., individually and d/b/a                              Plaintiff Demands a Trial
M&M SECURITY INC., TRIAN FUND MANAGEMENT,                                               By Jury
L.P., TRIAN FUND MANAGEMENT GP, LLC, TRIAN
PARTNERS, LP, KEN SCHWEBEL, individually, and
NELSON PELTZ, individually,

                                    Defendants.
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 Plaintiff, by and through his attorneys, Phillips & Associates, Attorneys at Law, PLLC hereby

 complains of the Defendants, upon information and belief, as follows:


                                             INTRODUCTION

 1. Plaintiff complains pursuant to Title VII of the Civil Rights Act of 1964, as codified, 42

     U.S.C., §2000e et seq. (“Title VII”), The Americans with Disabilities Act, as amended, 42

     U.S.C. §12101 et seq. (“ADA”), the Family Medical Leave Act (“FMLA”); and to remedy

     violations of the Laws of the State of New York and the laws of the County of Westchester,

     based upon the supplemental jurisdiction of this Court pursuant to Gibbs, 383 U.S. 715

     (1966) and 28 U.S.C. §1367, seeking damages to redress the injuries Plaintiff has suffered as

     a result of being harassed and discriminated against on the basis of his actual and/or

     perceived disability, together with failure to provide a reasonable accommodation, failure to

     engage in the interactive process, interference with protected rights, retaliation, and unlawful

     termination.
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                                   JURISDICTION AND VENUE

2. The Court has jurisdiction pursuant to 42 U.S.C. §12101 et seq., 29 U.S.C. §2617; 28 U.S.C.

     §1331, §1343, and supplemental jurisdiction thereto.

3. This action involved a Question of Federal Law.

4. Venue is proper in this district based upon the fact that a substantial part of the events and

     omissions giving rise to the claim occurred within the Southern District of the State of New

     York. 28 U.S.C. §1391(b).

5. On or about September 14, 2016, Plaintiff filed a charge of discrimination with the Equal

     Employment Opportunity Commission (“EEOC”).

6. On or about January 11, 2017, Plaintiff received a Notice of Right to Sue letter from the

     EEOC.

7. This action is being brought within 90 days of said Notice of Right to Sue letter.


                                            PARTIES

8.   Plaintiff is a disabled male resident of the State of New York, County of Orange.

9.   At all times material, Defendant PRO QUEST SECURITY INC., individually and d/b/a

     M&M SECURITY INC. (hereinafter also referred to as “M&M SECURITY”) was and is a

     domestic business corporation duly operating under the laws of the State of New York.

10. Defendant M&M SECURITY provides security services for executives, celebrities, and

     other high-profile clients.

11. At all times material, Defendant NELSON PELTZ (hereinafter also referred to as “PELTZ”)

     was and is a resident of the State of New York.
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12. At all times material, Defendant PELTZ hired Defendant M&M SECURITY to provide

    drivers, bodyguards and staff for himself and his family at his 543 Byram Lake Road, Mt.

    Kisco, NY 10549 residence.

13. At all times material, Defendant PELTZ hired Defendant M&M SECURITY through his

    company, TRIAN FUND MANAGEMENT, L.P.

14. At all times material, Defendant TRIAN FUND MANAGEMENT, L.P. was and is a foreign

    limited partnership duly existing under the laws of the State of Delaware.

15. At all times material, Defendant TRIAN FUND MANAGEMENT, L.P. was and is a foreign

    limited partnership duly authorized to conduct business under the laws of the State of New

    York.

16. At all times material, Defendant TRIAN FUND MANAGEMENT, L.P. was and is a foreign

    limited partnership which does conduct business under the laws of the State of New York.

17. At all times material, Defendant PELTZ hired Defendant M&M SECURITY through his

    company, TRIAN FUND MANAGEMENT GP, LLC.

18. At all times material, Defendant TRIAN FUND MANAGEMENT GP, LLC. was and is a

    foreign limited liability company duly operating under the laws of the State of Delaware.

19. At all times material, Defendant TRIAN FUND MANAGEMENT GP, LLC. was and is a

    foreign limited liability company duly authorized to conduct business under the laws of the

    State of New York.

20. At all times material, Defendant TRIAN FUND MANAGEMENT GP, LLC. was and is a

    foreign limited liability company which does conduct business under the laws of the State of

    New York.
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21. At all times material, Defendant PELTZ hired Defendant M&M SECURITY through his

    company, TRIAN PARTNERS, LP.

22. At all times material, Defendant TRIAN PARTNERS, LP was and is a foreign limited

    liability partnership duly operating under the laws of the State of Delaware.

23. At all times material, Defendant TRIAN PARTNERS, LP was and is a foreign limited

    liability partnership authorized to conduct business under the laws of the State of New York.

24. At all times material, Defendant TRIAN PARTNERS, LP was and is a foreign limited

    liability partnership which does conduct business under the laws of the State of New York.

25. At all times material, Defendant PELTZ had the ability to hire and fire Plaintiff, influenced

    the terms and conditions of Plaintiff’s employment, and/or had supervisory authority over

    Plaintiff.

26. At all times material, Defendant KEN SCHWEBEL (hereinafter also referred to as

    “SCHWEBEL”) was and is a resident of the State of New York.

27. At all times material, Defendant SCHWEBEL was and is an employee of Defendant PELTZ

    through his companies, TRIAN FUND MANAGEMENT, L.P., TRIAN FUND

    MANAGEMENT GP, LLC, and TRIAN PARTNERS, LP, employed as a “Property

    Manager.”

28. At all times material, Defendant SCHWEBEL was Plaintiff’s supervisor and/or had

    supervisory authority over Plaintiff.

29. Defendant M&M SECURITY, Defendant TRIAN FUND MANAGEMENT, L.P., TRIAN

    FUND MANAGEMENT GP, LLC, TRIAN PARTNERS, LP, Defendant PELTZ, and

    Defendant SCHWEBEL are herein also collectively referred to as “Defendants.”
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30. At all times material, Defendant M&M SECURITY, Defendant TRIAN FUND

    MANAGEMENT, L.P., TRIAN FUND MANAGEMENT GP, LLC, TRIAN PARTNERS,

    LP, and Defendant PELTZ were Plaintiff’s joint employers.

31. At all times material, Defendant M&M SECURITY, Defendant TRIAN FUND

    MANAGEMENT, L.P., TRIAN FUND MANAGEMENT GP, LLC, TRIAN PARTNERS,

    LP, and Defendant PELTZ were and are qualified joint employers under the FMLA.

32. At all times material, Plaintiff was a qualified employee under the FMLA.


                                     MATERIAL FACTS

33. On or about January 17, 2015, Plaintiff began working for Defendant M&M SECURITY as a

   “Bodyguard” at the home of Defendant PELTZ, located at 543 Byram Lake Road, Mt. Kisco,

   NY 10549 location. Plaintiff’s duties included driving and escorting the Peltz family to

   social events and shopping, walking their dogs and checking the dogs for ticks, as well as

   various other tasks on an on-call basis.

34. At the time of hire, Plaintiff informed Defendant SCHWEBEL that he suffered from

   diabetes, which he managed with medication and periodic medical visits.

35. Throughout his employment, Plaintiff was praised for his attentive and diligent work

   performance, and he soon became a trusted employee of Defendant PELTZ.

36. For example, in or around November 2015, in a text message to Plaintiff, Defendant

   SCHWEBEL wrote, “Juan, when it comes to Mr/Mrs [PELTZ] I hand pick people to do this.

   It’s not any one that is in. I picked you cause of the trust I have in you to be with both of

   them. So thank you.”

37. In addition, despite his disability, Plaintiff never took a sick day while working for

   Defendants.
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38. On or about July 2, 2016, Plaintiff woke up experiencing shortness of breath and severe

   symptoms relating to his diabetes.

39. Immediately thereafter, at 5:38 a.m., Plaintiff called Defendant M&M SECURITY’s

   “Dispatcher,” Aaron Hess, and informed him that he had to go to the emergency room and he

   could not work that day. Mr. Hess replied, “Ok, no problem.”

40. That same day, at 6:21 a.m., Defendant SCHWEBEL text messaged Plaintiff, “Juan, not a

   wise choice to call out today. Put everybody in a jamb (sic). But if youre (sic) that sick

   please take off all next week when the family is not here and get better. Ken.”

   Nevertheless, Defendant SCHWABEL began to harass Plaintiff for his request for a

   reasonable accommodation.

41. Defendant SCHWABEL telephoned Plaintiff while he was undergoing tests with his medical

   examiner, Ms. Romilda Canale, FNP, and also sent him a text message stating, “Call me.”

42. Although he was still experiencing symptoms, Plaintiff asked Ms. Canale to allow him to call

   back Defendant SCHWABEL because he feared that his job was in jeopardy.

43. Plaintiff then returned Defendant SCHWABEL’s call.          Plaintiff also put the call on

   speakerphone. Without asking Plaintiff about his symptoms or ability to return to work,

   Defendant SCHWABEL demanded, “You have to drive the family home tonight.”

   Plaintiff replied, “I can’t. I’m in the doctor’s office, in the examination room. I have a

   serious medical condition. I cannot go to work.” Defendant SCHWEBEL simply said,

   “Well I don’t care. You better come in. If you don’t, don’t bother coming back. I

   won’t be needing you anymore.” Plaintiff replied, “You’re firing me because I’m sick?

   You know that in the time I’ve been working for you, I’ve never taken a sick day nor a

   vacation day. Why are you doing this to me?”
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44. Hearing the conversation, Ms. Canale became concerned and intervened. Ms. Canale said,

   “Excuse me, sir, I am this patient’s doctor and this patient has a very serious medical

   condition. He’s diabetic and his reading is over 300. You cannot force this man to go to

   work. He cannot come back to work until July 5th. I’m telling you he’s sick.”

45. Defendant SCHWABEL ignored Ms. Canale and yelled, “Get off the phone, I’m not

   talking to you. Put Juan back on. Juan, if you don’t show up, then don’t come back,

   cause you need to take the family out on a run.”

46. This conversation constituted a request for a reasonable accommodation relating to Plaintiff’s

   disability.

47. Defendants failed to engage in the interactive process.

48. On or about July 2, 2016, Defendants terminated Plaintiff because of his disability and/or

   perceived disability.

49. On or about July 2, 2016, Defendants retaliated and terminated Plaintiff because he put them

   on notice that he would need a reasonable accommodation.

50. On or about July 2, 2016, Defendants terminated Plaintiff so they would not have to

   accommodate his disability.

51. On or about July 2, 2016, Defendants retaliated and terminated Plaintiff in order to avoid

   having to provide Plaintiff with FMLA leave.

52. As a result of Defendants’ actions, Plaintiff felt, and continues to feel, extremely humiliated,

   degraded, victimized, embarrassed, and emotionally distressed.

53. As a result of the Defendants’ discriminatory and intolerable treatment of Plaintiff, he

   suffered severe emotional distress and physical ailments.
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54. As a result of the acts and conduct complained of herein, Plaintiff has suffered and will

   continue to suffer the loss of income, the loss of a salary, bonuses, benefits and other

   compensation which such employment entails, and Plaintiff has also suffered future

   pecuniary losses, emotional pain, suffering, inconvenience, loss of enjoyment of life, and

   other non-pecuniary losses.

55. As a result of the above, Plaintiff has been damaged in an amount which exceeds the jurisdiction

   limits of all lower Courts.

56. As Defendants’ conduct has been malicious, willful, outrageous, and conducted with full

   knowledge of the law, Plaintiff demands Punitive Damages as against the Defendants.


                                 AS A FIRST CAUSE OF ACTION
                                       UNDER TITLE VII
                                       DISCRIMINATION

57. Plaintiff repeats, reiterates and realleges each and every allegation made in the above

   paragraphs of this Complaint as if more fully set forth herein at length.

58. This claim is authorized and instituted pursuant to the provisions of Title VII of the Civil

   Rights Act of 1964, 42 U.S.C. Section(s) 2000e et seq., as amended for relief based upon the

   unlawful employment practice of the above-named Defendants.

59. Plaintiff complains of Defendants’ violation of Title VII’s prohibition against discrimination

   in employment based, in whole or in part, upon his actual and/or perceived disability,

   together with failure to provide a reasonable accommodation, failure to engage in the

   interactive process, interference with protected rights, retaliation and unlawful termination.
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                              AS A SECOND CAUSE OF ACTION
                                    UNDER TITLE VII
                                      RETALIATION

60. Plaintiff repeats, reiterates and realleges each and every allegation made in the above

   paragraphs of this Complaint as if more fully set forth herein at length.

61. Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §2000e- 3(a) provides that it

   shall be an unlawful employment practice for an employer:

      “(1) to…discriminate against any of his employees… because he has opposed any practice

      made an unlawful employment practice by this subchapter, or because he has made a

      charge, testified, assisted or participated in any manner in an investigation, proceeding, or

      hearing under this subchapter.”

62. Defendants engaged in an unlawful employment practice prohibited by 42 U.S.C. §2000e et

   seq. by discriminating against Plaintiff with respect to the terms, conditions or privileges of

   employment because of his opposition to Defendants’ unlawful employment practices.


                       AS A THIRD CAUSE OF ACTION
            UNDER THE AMERICANS WITH DISABILITIES ACT (“ADA”)
                             DISCRIMINATION

63. Plaintiff repeats, reiterates, and realleges each and every allegation made in the above

   paragraphs of this Complaint as if more fully set forth herein at length.

64. Plaintiff claims the Defendants violated Titles I and V of the Americans with Disabilities Act

   of 1990, as amended, 42 U.S.C. §12101 et seq. Section 12112 specifically states:

     a. General Rule- No covered entity shall discriminate against a qualified individual with a
     disability because of the disability of such individual in regard to job application
     procedures, the hiring, advancement, or discharge of employees, employee compensation,
     job training, and other terms, conditions, and privileges of employment.

65. Defendants violated the above and Plaintiff suffered numerous damages as a result.
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                       AS A FOURTH CAUSE OF ACTION
             UNDER THE AMERICANS WITH DISABILITIES ACT (“ADA”)
                      RETALIATION and INTERFERENCE

66. Plaintiff repeats, reiterates and realleges each and every allegation made in the above

   paragraphs of this Complaint as if more fully set forth herein at length.

67. Section 42 U.S.C. §12203 of the ADA. Prohibition against retaliation and coercion provides

   as follows:

         a) Retaliation: No person shall discriminate against any individual because such

             individual has opposed any act or practice made unlawful by this chapter or because

             such individual made a charge, testified, assisted, or participated in any manner in

             an investigation, proceeding, or hearing under this chapter.

         b) Interference, coercion, or intimidation: It shall be an unlawful to coerce, intimidate,

             threaten, or interfere with any individual in the exercise or enjoyment of, or on

             account of his or her having exercised or enjoyed, or on account of his or her having

             aided or encouraged any other individual in the exercise or enjoyment of, any right

             granted or protected by this chapter.

68. Defendants violated Plaintiff’s above rights as set forth herein.


                          AS A FIFTH CAUSE OF ACTION
                   UNDER THE FAMILY AND MEDICAL LEAVE ACT
                         RETALIATION & INTERFERENCE

69. Plaintiff repeats, reiterates and re-alleges each and every allegation made in the above

   paragraphs of this Complaint as if more fully set forth herein at length.

70. §2615 of the Act states as follows:

             (a) Interference with rights
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                  (1) Exercise of rights. It shall be unlawful for any employer to interfere with,

                  restrain, or deny the exercise of or the attempt to exercise, any right provided

                  under this subchapter.

                  (2) Discrimination. It shall be unlawful for any employer to discharge or in any

                  other manner discriminate against any individual for opposing any practice

                  made unlawful by this subchapter.

71. Defendants interfered with Plaintiff’s rights under the above sections, discriminated against

   Plaintiff, and terminated Plaintiff from his employment for his attempt to exercise his FMLA

   right to take leave, instead of reinstating him in the same or substantially similar position he

   held before his request.


                              AS A SIXTH CAUSE OF ACTION
                              UNDER NEW YORK STATE LAW
                                    DISCRIMINATION

72. Plaintiff repeats, reiterates and realleges each and every allegation made in the above paragraphs

      of this Complaint as if more fully set forth herein at length.

73. Executive Law § 296 provides that “1. It shall be an unlawful discriminatory practice: “(a) For

      an employer or licensing agency, because of the actual or perceived … disability… of any

      individual, to refuse to hire or employ or to bar or to discharge from employment such

      individual or to discriminate against such individual in compensation or in terms, conditions

      or privileges of employment.”

74. Defendants engaged in an unlawful discriminatory practice by discriminating against the

      Plaintiff because of his actual and/or perceived disability.
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                         AS A SEVENTH CAUSE OF ACTION
                          UNDER NEW YORK STATE LAW
               FAILURE TO PROVIDE A REASONABLE ACCOMMODATION

75. Plaintiff repeats, reiterates and realleges each and every allegation made in the above

       paragraphs of this Complaint as if more fully set forth herein at length.

76. New York State Executive Law §296(3)(a) provides:

       “It shall be an unlawful discriminatory practice for an employer, licensing agency,
       employment agency or labor organization to refuse to provide reasonable
       accommodations to the known disabilities of an employee, prospective employee
       or a member in connection with a job or occupation sought or held or participated
       in a training program.”

77. Defendants engaged in an unlawful discriminatory practice by discriminating against the

   Plaintiff by failing to provide a reasonable accommodation for his actual and/or perceived

   disability, failing to engage in the interactive process, interference with his protected rights,

   retaliation, and unlawful termination.


                              AS A EIGHTH CAUSE OF ACTION
                              UNDER NEW YORK STATE LAW
                                      RETALIATION

78. Plaintiff repeats, reiterates and realleges each and every allegation made in the above

   paragraphs of this Complaint as if more fully set forth herein at length.

79. New York State Executive Law §296(7) provides that it shall be an unlawful discriminatory

   practice:

       “For any person engaged in any activity to which this section applies to retaliate or
       discriminate against any person because he has opposed any practices forbidden under
       this article.”

80. Defendants engaged in an unlawful discriminatory practice by discharging, retaliating, and

   otherwise discriminating against the Plaintiff because of Plaintiff’s opposition to his
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   employer’s unlawful employment practices, as well as for having requested a reasonable

   accommodation.


                               AS A NINTH CAUSE OF ACTION
                               UNDER NEW YORK STATE LAW
                                    AIDING & ABETTING

81. Plaintiff repeats, reiterates and realleges each and every allegation made in the above paragraphs

   of this Complaint as if more fully set forth herein at length.

82. New York Executive Law §296(6) provides that it shall be an unlawful discriminatory practice,

   “For any person to aid, abet, incite, compel or coerce the doing of any acts forbidden under this

   article, or attempt to do so.”

83. Defendants engaged in an unlawful discriminatory practice in violation of New York State

   Executive Law §296(6) by aiding, abetting, inciting, compelling and coercing the discriminatory

   conduct.


                         AS A TENTH CAUSE OF ACTION
                UNDER THE LAWS OF THE COUNTY OF WESTCHESTER
                               DISCRIMINATION

84. Plaintiff repeats and realleges each and every allegation made in the above paragraphs of this

   complaint.

85. Westchester County Human Rights Law §700.03(a)(1) provides that it shall be an unlawful

   discriminatory practice:

       “For any employer. …to discriminate against any person in compensation or in terms,

       conditions or privileges of employment because of such person’s actual or perceived

       group identity. . .”
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86. Defendants engaged in unlawful employment practices by discriminating against Plaintiff

   because of his actual and/or perceived disability, together with failure to engage in the

   interactive process, interference with protected rights, retaliation and unlawful termination.


                       AS A ELEVENTH CAUSE OF ACTION
                UNDER THE LAWS OF THE COUNTY OF WESTCHESTER
                                RETALIATION

87. Plaintiff repeats and realleges each and every allegation made in the above paragraphs of this

   complaint.

88. Westchester County Law Chapter 700.07(b) provides that it shall be an unlawful

   discriminatory practice:

       “For any person engaged in any activity to which this chapter applies to retaliate or

       discriminate against any person because he or she: (1) has opposed any practices

       forbidden under this chapter…”

89. Defendants engaged in unlawful discriminatory practice by discharging, retaliating, and

   otherwise discriminating against Plaintiff because of Plaintiff’s opposition to his employer’s

   unlawful employment practices, and because he requested a reasonable accommodation.


WHEREFORE, Plaintiff respectfully requests a judgment against the Defendants:

A. Declaring that Defendants engaged in unlawful employment practices prohibited by Title VII

   of the Civil Rights Act of 1964, as amended, the Americans with Disabilities Act (“ADA”),

   the Family Medical Leave Act (“FMLA”), the New York State Executive Law and the laws

   of the County of Westchester, that Defendants discriminated against Plaintiff on the basis of

   his actual and/or perceived disability, together with failure to engage in the interactive

   process, interference with protected rights, retaliation and wrongful termination;
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B. Awarding damages to the Plaintiff, retroactive to the date of discharge, for all lost wages and

    benefits, past and future, back pay and front pay, resulting from Defendants’ unlawful

    termination and to otherwise make Plaintiff whole for any losses suffered as a result of such

    unlawful employment practice;

C. Awarding Plaintiff compensatory damages for mental, emotional and physical injury,

    distress, pain and suffering and injury to his reputation in an amount in excess of the

    jurisdiction of all lower courts;

D. Awarding Plaintiff punitive damages;

E. Awarding Plaintiff liquidated damages under the FMLA;

F. Awarding Plaintiff attorneys’ fees, costs, and expenses incurred in the prosecution of this

    action;

G. Awarding Plaintiff such other and further relief as the Court may deem equitable, just and

    proper to remedy the Defendant’s unlawful employment practices.



                                             JURY DEMAND

Plaintiff requests a jury trial on all issues to be tried.


        WHEREFORE, Plaintiff demands judgment against the Defendants, in an amount to be

determined at the time of trial plus interest, punitive damages, attorneys’ fees, costs, and

disbursements of action; and for such other relief as the Court deems just and proper.
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